AO 83 (Rev. 06/09) Summons in a Criminal Case

UNITED STATES DISTRICT Cot kg pO
for the ge Lisp

Middle District of Pennsylvania SS
United States of America ) R Ap, Y, |
V. ) a
) ROS .
) Case No. 3:23-CR-127-1 CLES
THOMAS TROTTA )
Defendant . )

SUMMONS IN A CRIMINAL CASE

YOU ARE SUMMONED. to appear ‘before the United States district court at the time, date, and place set forth
below to. answer to one or more - offenses or violations based on the following document filed with the ‘court:

Dindictment tj superséding Indictment . [Information [_Superseding Information Cicomplaint
[_]Probation Violation Petition [_]Supervised Release Violation Petition [] Violation Notice Bdorder of Court’

Place: Max Rosenn United States Courthouse Courtroom No: 1

- 1978S. Main Street, Wilkes-Barre, PA 18701

‘Date and Time: 4/18/2024 3:00 PM

This offense j is briefly described as follows:
Bail. revocation hearing

Date: 4/10/2024 : a -_ §/ Mary Rose Schirra

’ Issuing officer’s signature:

MARY ROSE SCHIRRA, Courtroom Deputy.

Printed name and title

I declare under penalty of perjury that I have: -

[_JExecuted and returned this summons a [_]Returned this summons.unexecuted

Date: _

. Server's signature

Printed name and title ©
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Case No.

This second page contains personal identifiers and therefore should
not be filed in court with the summons unless under seal.
(Not for Public Disclosure)

INFORMATION FOR SERVICE

Name of defendant/offender: -Thomas Trotta

Last known residence: c/o Attorney Joseph R. D'Andrea
320 North Blakely Street, Dunmore PA 18512

Usual place of abode (if different from residence address):

If the defendant i is an organization, name(s) and address(es) of officer(s) or agent(s) legally authorized to receive service of
process:

If the defendant is an organization, last known address within the district or principal place of business elsewhere in the
United States:

PROOF OF SERVICE
This summons was received by me on (date)
’ [I personally served the summons on this defendant 7 ‘at
(place) on (date) ~ 3 or
- [On ate) I left the summons at the individual’s residence or usual place of abode
with (name) _ CO , aperson of suitable age and discretion who resides

there, and I mailed a copy to the individual’s last known address; or

[I delivered a copy of the summons to (name of individual) Oo ,

- who is authorized to receive service of process on behalf of (name of organization)

on (date) - and I mailed a copy to

the organizations’s last known address within the district or to its. principal place of business elsewhere in the
United States; or

[The summons was returned unexecuted because:

I declare under penalty of perjury that this information is true.

Date returned:

Server's signature

- Printed name and title

Remarks:
